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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                             Case No.: 8:23-cr-00411-KKM-UAM

ABRAHAM OTHMAN YACOUB
                                      /

                  ORDER OF DETENTION PENDING TRIAL

      The Government moved to detain Defendant pending trial pursuant to 18

U.S.C. § 3142(f). In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a bail

hearing was held on November 20, 2023. This court concludes that the following

facts require the detention of Defendant, Abraham Othman Yacoub, pending further

order of the court.

      Defendant is charged in an Indictment with entering an airport in violation of

security requirements with intent to evade security procedures and restrictions and

with intent to commit a felony (Count I) and attempting to board an aircraft that was

intended for operation in air transportation while knowingly carrying a concealed

dangerous weapon (Count II) in violation of 49 U.S.C. §§ 46314 and 46505. The

Government seeks detention on grounds that Defendant is a risk of flight and danger

to the community. Upon consideration, for the reasons stated on the record at the

hearing, and based on the factors under 18 U.S.C. § 3142(g), to specifically include

the nature and circumstances of the case, the weight of the evidence against

Defendant, and the history and characteristics of Defendant, the court finds that
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Defendant should be detained pending the final outcome of this case. Specifically,

the evidence against Defendant in this case appears strong.          The Government

proffered that Defendant was observed on video surveillance with the firearm

attempting to proceed through airport security. Possessing a firearm at the airport

poses a serious risk of harm to the public. Defendant allegedly attempted to abandon

the firearm at the airport in a restroom. Abandonment of a firearm at the airport is

dangerous and poses a serious risk of harm to the public. Defendant’s background

and characteristics also weigh towards detention. Defendant’s criminal record shows

repeated incidents in which Defendant disregarded and violated the law. Defendant

allegedly previously brought a firearm to the airport in Miami, Florida, stole and

pawned vehicles, and repeatedly drove with a suspended license. Further, Defendant

possesses a passport, has traveled to Qatar, Germany, and Bangladesh. Defendant

also has a relative that resides in Palestine. Defendant was in the process of traveling

to Abu Dhabi when he was arrested in this case. Upon arrest, Defendant tested

positive for marijuana use, admitted to pretrial services that he has a gambling

problem, and appears to lack reportable, gainful employment.

      Although Defendant has strong ties to the Middle District of Florida and

family support, the factors in the Bail Reform Act require Defendant’s detention.

The Government has met its burden of establishing by clear and convincing evidence

that no conditions are available to reasonably ensure the safety of the community.

See United States v. King, 849 F.2d 485, 488 (11th Cir. 1988). The Government has

also met its burden of establishing by a preponderance of the evidence that no
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conditions are available to ensure Defendant’s future appearance at trial. See King,

849 F.2d at 489.      Accordingly, it is hereby ORDERED that Defendant be

DETAINED.

      Defendant is committed to the custody of the Attorney General or his

designated representative for confinement in a corrections facility separate, to the

extent practicable, from persons awaiting or serving sentences or being held in

custody pending appeal. Defendant shall be afforded a reasonable opportunity for

private consultation with counsel. On order of a court of the United States or on

request of an attorney for the Government, the person in charge of the corrections

facility in which Defendant is confined shall deliver Defendant to a United States

marshal for the purpose of an appearance in connection with a court proceeding.

      ORDERED in Tampa, Florida, on November 21, 2023.




Copies furnished to:
Counsel of Record
United States Pretrial Services
United States Marshals Service

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